       Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 1 of 16



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


CALIFORNIA ASSOCIATION OF PRIVATE         )
POSTSECONDARY SCHOOLS,                    )
                                          )
               Plaintiff,                 )
                                          )
       v.                                 )
                                          )
ELISABETH DEVOS, in her official capacity )
as Secretary of the U.S. Department       )           Civil Action No. 17-999 (RDM)
of Education, et al.,                     )
                                          )
               Defendants,                )
                                          )
MEAGHAN BAUER and STEPHANO                )
DEL ROSE,                                 )
                                          )
               Defendant-Intervenors.     )
_________________________________________ )


      DEFENDANT-INTERVENORS’ MEMORANDUM IN OPPOSITION TO
     PLAINTIFF’S MOTION FOR RECONSIDERATION OF INTERVENTION


      Toby R. Merrill                           Julie A. Murray
      D.D.C. Bar No. 0006                       D.C. Bar No. 1003807
      PROJECT ON PREDATORY STUDENT LENDING,     Scott L. Nelson
      LEGAL SERVICES CENTER OF HARVARD LAW      D.C. Bar No. 413548
      SCHOOL                                    Adam R. Pulver
      122 Boylston Street                       D.C. Bar No. 1020475
      Jamaica Plain, MA 02130                   PUBLIC CITIZEN LITIGATION GROUP
      (617) 522-3003                            1600 20th Street NW
      tomerrill@law.harvard.edu                 Washington, DC 20009
                                                (202) 588-1000
                                                jmurray@citizen.org


                         Counsel for Defendant-Intervenors
            Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 2 of 16



                                                   TABLE OF CONTENTS

TABLE OF CONTENTS ................................................................................................................. i

TABLE OF AUTHORITIES .......................................................................................................... ii

INTRODUCTION ...........................................................................................................................1

BACKGROUND .............................................................................................................................1

A.        Litigation in This Case and Bauer v. DeVos ........................................................................1

B.        NEIA and EDMC Bankruptcy .............................................................................................3

C.        Bauer Ruling and Subsequent Events ..................................................................................5

ARGUMENT ..................................................................................................................................7

I.        CAPPS Has Provided No Legal Basis for Reconsidering Intervention as of Right. ...........7

II.       If This Court Reconsiders Intervention, Permissive Intervention Remains
          Appropriate. .......................................................................................................................12

CONCLUSION ..............................................................................................................................12




                                                                      i
             Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 3 of 16



                                                   TABLE OF AUTHORITIES

 CASES                                                                                                                              Page(s)

 Bauer v. DeVos,
        __ F. Supp. 3d __, 2018 WL 4353656 (D.D.C. Sept. 12, 2018) ......................................5, 8

 Cleveland County Ass’n for Government by People v. Cleveland County Board of
        Commissioners,
        142 F.3d 468 (D.C. Cir. 1998) .............................................................................................9

*Crossroads Grassroots Policy Strategies v. FEC,
      788 F.3d 312 (D.C. Cir. 2015) ...............................................................................................7

 In re Education Management II LLC,
        Docket No. 18-11494 (D. Del. Bankr.) ................................................................................3

 Mova Pharm. Corp. v. Shalala,
       140 F.3d 1060 (D.C. Cir. 1998) ...........................................................................................7

 Lyles v. District of Columbia,
         65 F. Supp. 3d 181 (D.D.C. 2014) .......................................................................................7

 In re The New England Institute of Art, LLC,
        Docket No. 18-11550 (D. Del. Bankr.) ................................................................................3

*Parker v. John Moriarty & Associates,
      221 F. Supp. 3d 1 (D.D.C. 2016) .......................................................................................7, 9

 STATUTES, REGULATIONS, AND RULES

 Higher Education Act
        20 U.S.C. § 1002(a)(4)(A) ...................................................................................................3
        20 U.S.C. § 1099c ................................................................................................................4

 34 C.F.R. § 600.31 ...........................................................................................................................4

 Federal Rule of Civil Procedure 24 .................................................................................................6

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       81 Fed. Reg. 75,926 (Nov. 1, 2016)...............................................................................1, 10


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                                                                       ii
           Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 4 of 16



OTHER AUTHORITIES

Amended & Restated Asset Purchase Agreement Between and Among, inter alia,
     Dream Center Foundation and EDMC, available at https://bit.ly/2RtBfMw ......................4

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       (Oct. 18, 2017), https://bit.ly/2DySp3W ..............................................................................4

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Daniel Moore, EDMC to Sell Schools to Los Angeles Nonprofit, Pittsburgh Post-Gazette
       (Mar. 3, 2017), https://bit.ly/2zVlWpc ............................................................................3, 4

Department of Education, Press Release, More than 50 Corinthian Campuses
      Transition to Nonprofit Status Under Zenith Education Group (Feb. 3, 2015),
      https://bit.ly/2CrUh1w11 ....................................................................................................4

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      Politico (Apr. 11, 2017), https://politi.co/2pzVPhI..............................................................4

Zachery Eanes, For-Profit School Operator Closing 30 Campuses, Including 3 in NC,
      Raleigh News & Observer, July 2, 2018 (updated July 10, 2018),
      https://bit.ly/2ymaUXY34 ...............................................................................................4, 5




                                                                iii
        Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 5 of 16



                                       INTRODUCTION

       California Association of Private Postsecondary Schools (CAPPS) asks this Court to

reconsider its grant of intervention as of right to defendant-intervenors Meaghan Bauer and

Stephano Del Rose (Borrowers). This Court should not do so. The bankruptcy of New England

Institute of Art (NEIA) and Education Management Corporation (EDMC) does not change the fact

that the Borrowers had an independent, legally protectable interest in defending the entire rule at

the time of intervention in light of their interests in the Borrower Defense Rule’s borrower defense

provisions challenged by CAPPS. See 81 Fed. Reg. 75,926 (Nov. 1, 2016). And as this Court has

recognized, CAPPS had (until this motion) consistently taken the position that the provisions of

the Borrower Defense Rule are non-severable. CAPPS’s late-breaking change in position should

be rejected as a basis for granting CAPPS’s motion for reconsideration, as should its belated

attempt to carve out the borrower defense provisions in which the Borrowers undisputedly have

an interest from other provisions that CAPPS challenges. These arguments are not newly available

reasons justifying reconsideration and are, in any event, unconvincing.

                                        BACKGROUND

A.     Litigation in This Case and Bauer v. DeVos

       In June 2017, defendant-intervenors Bauer and Del Rose, two former students of the for-

profit college NEIA, moved to intervene in this action to help defend the Borrower Defense Rule

from challenge by CAPPS. Bauer and Del Rose explained that, on behalf of themselves and other

former NEIA students, they were preparing to file a lawsuit against NEIA and its corporate parent

EDMC. See Bauer Decl. ¶ 25, ECF No. 22-1; Del Rose Decl. ¶ 32, ECF No. 22-2. They stated that

NEIA and EDMC had refused their request that the school and its parent agree not to enforce a

predispute arbitration provision in the students’ enrollment contracts. Bauer Decl. ¶ 24; Del Rose




                                                 1
        Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 6 of 16



Decl. ¶ 31. They explained that they had a firm intent to file their lawsuit once the Borrower

Defense Rule took effect as anticipated on July 1, 2017, because at that time, the rule would

prohibit their school from enforcing predispute arbitration agreements and class waivers against

them and their classmates while the school received Title IV funding. Bauer Decl. ¶¶ 25-27; Del

Rose Decl. ¶¶ 32-34.

       The following month, the Borrowers filed a related case against the Department of

Education (ED), challenging its decision to delay the Borrower Defense Rule. See Bauer v. DeVos,

No. 17-1330 (D.D.C. filed July 6, 2017). They identified an interest in implementation of the

arbitration and class-waiver provisions and in the borrower defense provisions, which would

provide them additional protections and rights related to borrower defense applications that they

had submitted to the Department and which remained pending.

       CAPPS opposed the Borrowers’ motion to intervene as defendants in this case, in part on

the ground that they lacked a legally protectable interest. It argued, among other things, that

Bauer’s and Del Rose’s interest in pursuing a class action in court against NEIA and EDMC could

not give them standing to defend any portion of the rule other than those provisions governing the

use of forced arbitration and class-waiver provisions. In reply, the Borrowers pointed to the relief

sought by CAPPS: an order declaring that the “entirety” of the Borrower Defense Rule was

unconstitutional and arbitrary and capricious, and enjoining the Department from “taking any

action whatsoever pursuant to the final regulations.” Compl. ¶ 242(i), (iii); see also id. ¶ 242(iv)

(seeking “[v]acat[ur]” of “the final regulations”). As they explained, because CAPPS had directly

challenged only selected portions of the rule, yet sought vacatur of the entire regulation, it

necessarily had advanced a theory of non-severability with respect to the rule. Borrowers’ Reply

6, ECF No. 44. They requested, however, that “if CAPPS ultimately concede[d] that each portion




                                                 2
        Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 7 of 16



of the challenged Regulations [was] severable, the Borrowers should at that time have the

opportunity to introduce evidence, if they ha[d] not already done so, demonstrating which specific

portions of the Regulations they ha[d] standing to defend.” Id. at 6 n.1. The Borrowers also

explained that their standing to bring the challenge in Bauer v. DeVos, No. 17-1330, rested in part

on their borrower defense applications pending with ED, not just their interest in bringing suit

against NEIA and EDMC. Id.

       In March 2018, this Court formally stayed proceedings. Litigation in Bauer continued,

however, and the Borrowers filed repeated declarations in that case attesting not only to their

interest in bringing suit against NEIA and EDMC, but also with respect to their pending borrower

defense applications and their desire to see the borrower defense provisions take effect. See, e.g.,

Del Rose Decl., ECF No. 15-2; Bauer Decl., ECF No. 15-3.

B.     NEIA and EDMC Bankruptcy

       Briefing in Bauer was complete in May 2018. On June 29, 2018, NEIA and EDMC filed

for bankruptcy. See In re Education Management II LLC, Docket No. 18-11494 (D. Del. Bankr.);

In re The New England Institute of Art, LLC, Docket No. 18-11550 (D. Del. Bankr.). At that time,

they became ineligible to participate in the Title IV program. See 20 U.S.C. § 1002(a)(4)(A)

(defining eligible institution to exclude schools that file for bankruptcy). Because the Borrower

Defense Rule’s provisions on forced arbitration and class waivers apply only as a condition on

Title IV funding, those provisions will no longer apply to NEIA and EDMC when it takes effect.

       Before filing for bankruptcy, EDMC had agreed to sell some but not all of EDMC’s schools

and campuses to a higher education entity called the Dream Center Foundation and a variety of

subsidiary non-profits. See Daniel Moore, EDMC to Sell Schools to Los Angeles Nonprofit,

Pittsburgh Post-Gazette (Mar. 3, 2017), https://bit.ly/2zVlWpc; Daniel Moore, EDMC Completes




                                                 3
         Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 8 of 16



Sale of Schools to Dream Center, Pittsburgh Post-Gazette (Oct. 18, 2017), https://bit.ly/2DySp3W.

The sale shifted about 60,000 students and 15,000 employees from EDMC to Dream Center. See

Moore, EDMC Completes Sale of Schools. EDMC continued to operate after the sale only to wind

down schools that were no longer accepting new students; NEIA was one such school.

       Certain EDMC assets and liabilities purportedly transferred to Dream Center Foundation

as part of the sale, and others did not. See Michael Stratford, Inside the Deal to Convert a Large

For-Profit College Into a Nonprofit, Politico (Apr. 11, 2017), https://politi.co/2pzVPhI; Amended

& Restated Asset Purchase Agreement Between and Among, inter alia, Dream Center Foundation

and EDMC 12-15, available at https://bit.ly/2RtBfMw. Further, pursuant to its authority under the

Higher Education Act, ED was entitled to attach additional conditions on the sale as part of its

Title IV oversight. See 20 U.S.C. § 1099c; 34 C.F.R. § 600.31; see also, e.g., ED, Press Release,

More than 50 Corinthian Campuses Transition to Nonprofit Status Under Zenith Education Group

(Feb. 3, 2015), https://bit.ly/2CrUh1w (conditioning approval of sale on agreement of purchasing

entity to an independent monitor and “conduct provisions,” plus payments to underwrite student

loan forgiveness). Although ED granted pre-acquisition approval of the sale, see Daniel Moore,

EDMC Sale Gets Initial Blessing from U.S. Department of Education, Pittsburgh Post-Gazette

(Sept. 20, 2017), https://bit.ly/2ytr1Cg, it remains unclear whether ED has adopted or will adopt

such conditions. Dream Center continues to operate many of the sold schools, with much of the

same personnel. It participates in the Title IV federal aid program and will be subject to the

Borrower Defense Rule when it becomes effective. See, e.g., Zachery Eanes, For-Profit School

Operator Closing 30 Campuses, Including 3 in NC, Raleigh News & Observer, July 2, 2018

(updated July 10, 2018), https://bit.ly/2ymaUXY (describing month-to-month Title IV eligibility

of schools involved in transfer).




                                                4
        Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 9 of 16



C.     Bauer Ruling and Subsequent Events

       In September 2018, this Court issued an opinion in Bauer v. DeVos, holding that ED’s

section 705 stay of the Borrower Defense Rule and its February 2018 delay rule were unlawful.

Bauer v. DeVos, __ F. Supp. 3d __, 2018 WL 4353656 (Sept. 12, 2018). Before reaching the

merits, the Court held that Bauer and Del Rose’s interests in the arbitration, class-waiver, and

borrower defense provisions supported their Article III standing to bring the case. Id. at *8-*9. It

also noted that ED “ha[d] not contested that the student borrower plaintiffs would benefit from

vacatur of the delay actions, nor ha[d] it called into question any of the facts that they ha[d]

alleged.” Id. at *9. The Court also discussed the CAPPS litigation in its recitation of the facts and

explained that CAPPS had sought “to enjoin the Department ‘from implementing, applying, or

taking any action whatsoever pursuant to the final regulations,’ and to vacate the entirety of the

final rule.” Id. at *3 (citing ¶ 242 of CAPPS’s complaint). The Court did not at that time decide

the appropriate remedy for the unlawful delays. Id. at *25.

       On September 14, 2018, the Court held a joint status conference in Bauer and this case. In

an exchange between the Court and CAPPS’s counsel with respect to the appropriate remedy in

Bauer, CAPPS emphasized that permitting the rule’s arbitration and class-waiver provisions to go

into effect would impact schools’ contractual relationships with “all of their students,” an outcome

that could not be reversed “in many instances.” Tr. 16:8-9. The Court responded that “the same is

true with respect to the student borrowers, that if the statute of limitations runs and they haven’t

brought their lawsuit because they have to arbitrate, they’re out of luck.” Id. 16:12-15. CAPPS’s

counsel disagreed, contending that if he “were representing a plaintiff borrower,” he “might lodge

[his] suit,” and then ask the court to hold any motion to compel arbitration in abeyance during the

pendency of litigation over the Borrower Defense Rule. Id. 16:17-21.




                                                 5
        Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 10 of 16



       In his response, Borrowers’ counsel began by directly addressing the proposed workaround

for the “plaintiff borrower[s]” to whom CAPPS’s counsel had referred:

       [F]irst I agree certainly CAPPS is entitled to its day in court. But these rules going
       into effect would not deprive CAPPS of [its] day in court. The rules not going into
       effect will have the effect of completely depriving plaintiff borrowers of their day
       in court, because statute of limitations will go. And the suggestion that the plaintiffs
       should now within the next two weeks suddenly file cases on the hope that
       sometime they’ll be allowed to sue seems a burden on individuals much – that
       doesn’t balance against the states – I’m sorry, the schools.

Id. 47:23-25, 48:1-8.1 The Court took the issue of an appropriate remedy in Bauer under

advisement. It also lifted the stay in the instant litigation, id. 58:16-17, and granted the Borrowers’

motion to intervene as of right under Federal Rule of Civil Procedure 24(a), Tr. 56:17-24. The

Court stated that, as it had explained in its Bauer opinion,” the “private borrowers have had

standing,” and it “d[id not] know why they wouldn’t have standing in the CAPPS case as well.”

Tr. 37:16-19.

       At this time, Bauer and Del Rose are considering their legal options to recover for injuries

sustained as a result of NEIA’s fraud and other wrongdoing. 2d Bauer Decl. ¶ 5, ECF No. 68-1;

2d Del Rose Decl. ¶ 6, ECF No. 68-2. The Borrowers’ earlier plans to sue NEIA and EDMC as

defendants who might possibly pay a judgment are no longer viable. However, the Borrowers are

trying to determine whether Dream Center may be held liable on their claims against NEIA and

EDMC pursuant to the sale agreement, conditions that ED may place or may have placed on Dream


       1
          CAPPS wrongly suggests that plaintiffs’ counsel misled the Court in this colloquy. See
Mot. for Recons. 4 (citing Tr. 48:1-3, ECF No. 63). Counsel was plainly referring back to the same
“plaintiff borrower[s]” to whom CAPPS’s counsel had referred in the generic sense using the very
same language. Had Borrowers’ counsel been referring to his own clients when referring
generically to “plaintiffs” whose claims were at risk of expiring in the two weeks following the
status conference, the undersigned most assuredly would have sought a preliminary injunction in
Bauer long ago.




                                                  6
        Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 11 of 16



Center, or by operation of other legal doctrines governing successor liability and the corporate

form. As noted above, when the Borrower Defense Rule takes effect, it will apply to Dream Center

as a participant in the Title IV program.

                                            ARGUMENT

       Under Federal Rule of Civil Procedure 54(b), this Court may reconsider its interlocutory

orders at any time before entry of judgment. Although reconsideration is appropriate “as justice

requires,” Lyles v. Dist. of Col., 65 F. Supp. 3d 181, 188 (D.D.C. 2014), a court generally will

grant a motion for reconsideration “only when the movant demonstrates: (1) an intervening change

in the law; (2) the discovery of new evidence not previously available; or (3) a clear error in the

first order.” Parker v. John Moriarty & Assocs., 221 F. Supp. 3d 1, 2 (D.D.C. 2016).

       CAPPS contends that justice requires reconsideration of the Borrowers’ intervention

motion for three reasons: (1) the bankruptcy of NEIA and EDMC, Mot. for Recons. 4-7, (2) the

Borrowers’ “improper” reliance on pending borrower defense applications to justify an interest in

the rule, id. at 9, and (3) CAPPS’s “clarification” that the rule is severable, id. CAPPS’s motion

should be denied.

I.     CAPPS Has Provided No Legal Basis for Reconsidering Intervention as of Right.

       A. The recent bankruptcy of NEIA and EDMC does not change the fact that the Borrowers

have a “legally protected interest” in this case, as required for intervention as of right under Rule

24(a). Crossroads Grassroots Policy Strategies v. FEC, 788 F.3d 312, 320 (D.C. Cir. 2015); see

also Mova Pharm. Corp. v. Shalala, 140 F.3d 1060, 1076 (D.C. Cir. 1998) (stating that a proposed

intervenor as of right “need not show anything more than that it has standing … in order to

demonstrate the existence of a legally protected interest for purposes of Rule 24(a)”). The

Borrowers acknowledge that as a result of the bankruptcy of NEIA and EDMC—and those




                                                 7
        Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 12 of 16



entities’ consequent loss of Title IV funding—the Borrower Defense Rule would not assist them

in bringing claims in court against these entities. Moreover, at this time, the Borrowers are

considering but have not decided whether to file suit against Dream Center on a theory that it has

assumed the liabilities of EDMC for their injuries.2

       Either way, though, the Borrowers do continue to have a legally protected interest in seeing

that the Borrower Defense Rule takes effect as soon as possible. As this Court recognized in Bauer,

the Borrowers have filed borrower defense applications with ED, wish to benefit from the

procedural safeguards in the rule, and would be entitled to automatic forbearance if the rule were

to take effect. 2018 WL 4353656, at *9. The Borrowers recently confirmed that their applications

remain pending and that they continue to receive only time-limited forbearance on their loans. 2d

Bauer Decl. ¶¶ 6-7, 9; 2d Del Rose Decl. ¶¶ 8-11. They also made clear that their applications for

relief apply to federal loans that are not and never have been in default. 2d Bauer Decl. ¶ 8; 2d Del

Rose Decl. ¶¶ 6-7. So, for example, the Borrowers have a stake in whether CAPPS is entitled to a

preliminary injunction of 34 C.F.R. § 685.222, as amended by the rule, on CAPPS’s theory that

borrower defense relief is available only as a defense in collection proceedings. See P.I. Memo.

38-39, ECF No. 65; see also 2d Bauer Decl. ¶¶ 10-12 (stating an interest in having a group-based

relief process for NEIA students); 2d Del Rose Decl. ¶¶ 12-14 (same). In sum, the Borrowers’


       2
          CAPPS suggests that the Borrowers were “in the best position” to inform the Court of the
bankruptcy of NEIA and EDMC and suggests that they should have done so. Mot. for Recons. 4.
In retrospect, although it did not affect the Borrowers’ position in Bauer that they had standing to
challenge the delays in their entirety or that they have standing to intervene in this case to defend
the rule in full, the Borrowers’ counsel should have brought this information to the Court’s
attention at an earlier date. However, as this Court recognized at the hearing, events in this case
have had a way of “overtak[ing]” the litigation, Tr. 13:20-21, and the Borrowers were attempting—
indeed, still are attempting—to understand the implications of the bankruptcy. It is also notable
that ED, which terminates Title IV funding to schools that declare bankruptcy, did not raise any
questions about the Borrowers’ continued ability to pursue their claims in Bauer or to intervene in
this case.


                                                 8
        Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 13 of 16



interest in the borrower defense provisions is an independent ground supporting the Borrowers’

standing, and thus a legally protectable interest in the case. The new evidence of bankruptcy to

which CAPPS points does not call that conclusion into doubt.3

       B. CAPPS contends that the Borrowers’ interest in the borrower defense provisions is

insufficient for three reasons. First, it contends that Borrowers improperly relied on their pending

borrower defense applications for the first time in their reply in support of the motion to intervene.

Mot. for Recons. 9. As an initial matter, CAPPS’s objection in this regard does not amount to a

claim of “clear error” by this Court, which CAPPS would have to show to warrant reconsideration.

Parker, 221 F. Supp. 3d at 2. And it comes far too late. If CAPPS thought that something in the

Borrowers’ reply was not appropriate, it could have moved to strike or to file a surreply or have

raised the point in the hearing that led to the Court’s ruling on intervention. It did not, and more

than a year has passed since that reply was filed. The circumstances of the Borrowers’ intervention

are also highly relevant: The Borrowers intervened on short notice in CAPPS at a time when

CAPPS had sought a preliminary injunction only for the arbitration and class-waiver provisions

and had given every indication that it viewed the rule as non-severable. The Borrowers had no

reason to believe that they needed to prove standing for each and every provision challenged by

CAPPS in order to intervene. Indeed, in their reply, they requested that if CAPPS later conceded




       3
         The bankruptcy also does not cast doubt on this Court’s jurisdiction when it decided the
Borrowers’ claims in Bauer. At the time they filed suit, the Borrowers had Article III standing to
challenge the delay notices in their entirety based on their interests in the arbitration and class-
waiver provisions and the borrower defense provisions. Although one of their interests had
changed at the time that the case was decided, their APA claims were indisputably not moot
because the delay notices still prevented them from benefiting from the new procedural and
substantive rights they would have had if the borrower defense provisions had gone into effect.
See Cleveland Cty. Ass’n for Gov’t by People v. Cleveland Cty. Bd. of Comm’rs, 142 F.3d 468,
475 (D.C. Cir. 1998) (“A question is moot only if intervening events make it impossible to grant
the prevailing party effective relief.” (quotation marks omitted)).


                                                  9
        Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 14 of 16



severability, they be given a chance to bolster their demonstration of standing with new evidence

in the record. Borrowers’ Reply in Supp. of Mot. to Intervene 6 n.1. The Borrowers have done

that through new declarations in opposition to CAPPS’s renewed preliminary injunction motion,

which show that they have affirmative borrower defense claims and an interest in the group-based

relief process. See supra p. 8-9. In addition, they submitted evidence in Bauer of their specific

interest in defending the borrower defense provisions.

       Second, CAPPS appears to argue that the borrower defense provisions in which the

Borrowers have an interest—that is, those applicable to presently existing loans—are not the

provisions that CAPPS challenges in the litigation. See Mot. for Recons. 10-11. Again, CAPPS

asserts no “clear error” on the Court’s part that would warrant reconsideration. Specifically, in its

complaint, CAPPS challenged “how borrowers may assert defenses for all Title IV loans,

regardless of when the loan was disbursed.” Compl. ¶ 67 (citing changes to 34 C.F.R.

§ 685.206(c)). And it complained of a “group borrower defense process” to be set forth in 34

C.F.R. § 685.222, see 81 Fed. Reg. at 76,085 (new 34 C.F.R. § 685.222(g), (h))—the very same

section that CAPPS acknowledges as the source of “claim filing, notice, and procedural review”

standards for existing and future Direct Loans, see Mot. for Recons. 11.4

       Third, CAPPS claims that the Borrowers’ intervention based on an interest in the borrower

defense provisions is unwarranted because the Borrower Defense Rule and a 2018 proposed rule

to replace it are “similar[]” in respects relevant to the Borrowers. Id. Similarities between the Rule

and the proposed replacement are beside the point. If the Borrower Defense Rule does not go into

effect, the Borrowers will be left with the 1995 regulations on the books. CAPPS’s argument is


       4
        CAPPS’s contention elsewhere in the motion that CAPPS does not challenge 34 C.F.R.
§ 685.222, see Mot. for Recons. 10, is directly contradicted by other parts of the motion and the
complaint itself, see supra.


                                                 10
        Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 15 of 16



all the more faulty in light of ED’s recent announcement that it will not issue a replacement rule

by November 1, so the earliest the proposed rule could go into effect would be the 2020-21 school

year. See ED Opp’n to P.I. Mot. 2, ECF No. 69.

       C. CAPPS’s new position on severability of the rule likewise does not warrant

reconsideration. This argument was available to CAPPS more than a year ago, and it did not pursue

it. CAPPS’s initial request for a preliminary injunction for a limited portion of the rule does not,

as CAPPS contends (at 8), evince a belief that the rule need not stand or fall together at final

judgment. It merely indicates that CAPPS thought itself unable to demonstrate irreparable harm

from the rule as a whole at this early stage of litigation. CAPPS also ignores that at the September

2018 hearing before this Court, CAPPS’s counsel doubled down on a position of non-severability.

Specifically, this Court observed that CAPPS had treated the rule as “all non-severable,” Tr. 46:22,

which gave the Borrowers standing to defend the entire rule. CAPPS’s counsel, far from

disavowing that position, instead stated: “I think that it’s very difficult to break it up.” Id. 46:25,

47:1. The Court thus granted intervention at a time when the Borrowers had standing to defend the

entire rule. It can, of course, determine at a later date if the Borrowers’ defense has been mooted

in some respects by CAPPS’s change in position, but it need not, and should not, do so on a motion

for reconsideration of intervention. In addition to the fact that the standard for reconsideration has

not been met, it remains possible that ED could take the position that some provisions are not

severable, as could CAPPS. CAPPS’s motion for reconsideration notably does not state that the

Rule is severable in every respect, only that CAPPS “does not claim—and has not claimed—that

the 2016 Rule is non-severable.” Mot. for Recons. 9.




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        Case 1:17-cv-00999-RDM Document 71 Filed 10/05/18 Page 16 of 16



II.    If This Court Reconsiders Intervention, Permissive Intervention Remains
       Appropriate.

       CAPPS contends that permissive intervention is not appropriate as an alternative basis for

the Borrowers’ participation in this case. The Borrowers believe that the Court need not reach this

argument because intervention as of right was correctly granted. However, if the Court does revisit

this question, it should reject CAPPS’s argument on permissive intervention for the reasons stated

in the Borrowers’ initial motion to intervene and reply and in their arguments above. See

Borrowers’ Mot. to Intervene, ECF No. 22; Borrower Reply in Supp. of Mot. to Intervene, ECF

No. 44; supra p. 8-11. CAPPS’s arguments in this regard are simply a reprise of its earlier ones,

and they remain meritless.

                                        CONCLUSION

       For the foregoing reasons, this Court should deny CAPPS’s motion for reconsideration of

the order granting the Borrowers’ motion to intervene.

                                     Respectfully submitted,

 Toby R. Merrill                                       Julie A. Murray
 D.D.C. Bar No. 0006                                   D.C. Bar No. 1003807
 PROJECT ON PREDATORY STUDENT LENDING,                 Scott L. Nelson
 LEGAL SERVICES CENTER OF HARVARD LAW                  D.C. Bar No. 413548
 SCHOOL                                                Adam R. Pulver
 122 Boylston Street                                   D.C. Bar No. 1020475
 Jamaica Plain, MA 02130                               PUBLIC CITIZEN LITIGATION GROUP
 (617) 522-3003                                        1600 20th Street NW
 tomerrill@law.harvard.edu                             Washington, DC 20009
                                                       (202) 588-1000
                                                       jmurray@citizen.org

                               Counsel for Defendant-Intervenors

Dated: October 5, 2018




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